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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


BOLA DELANO,

                       Plaintiff,

         v.                                        Case No.

VILLAGE OF UNIVERSITY PARK
ILLINOIS, an Illinois Home Rule
Municipality, TRUSTEE LARRY B.
BROWN in his official and individual
capacity, TRUSTEE JOSEPH E. ROUDEZ
III, in his official and individual capacity,
TRUSTEE OSCAR BROWN, JR., in his
official and individual capacity, TRUSTEE
KEITH J. GRIFFIN, in his official and
individual capacity, TRUSTEE MILTON C.
PAYTON, in his official and individual
capacity.

                       Defendants.



                                           COMPLAINT

       NOW COMES the Plaintiff, BOLA DELANO, by and through her attorneys,

OTUBUSIN & ASSOCIATES, P.C. and complains of Defendants VILLAGE OF UNIVERSITY

PARK, ILLINOIS, an Illinois Home Rule municipality (hereafter "VILLAGE") and TRUSTEE

LARRY B. BROWN, TRUSTEE JOSEPH E. ROUDEZ III, TRUSTEE OSCAR BROWN JR.,

TRUSTEE KEITH J. GRIFFIN, TRUSTEE MILTON C. PAYTON, all of whom are being sued

in their Official and Individual capacities.
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                                   NATURE OF THE CASE

        1.     Plaintiff brings this action for violation of her civil rights, and of Illinois law and

statutes regarding termination of village managers, and of the Illinois Wage Payment and

Collection Act.

                                JURISDICTION AND VENUE

        2.     This action arises under the United States Constitution, amendment XIV, and a

federal statute, 42 U.S.C. § 1983, and jurisdiction over such claims arises under 28 U.S.C. §

1331, and 28 U.S.C. § 1343. The Court has supplemental jurisdiction over Plaintiff’s remaining

state court claims pursuant to 28 U.S.C. § 1367(a).

        3.     Venue is proper in this judicial district in accord with 28 U.S.C.§ 1391 (b) and

(c), as Plaintiff and Defendants either reside in this district or have their principal place of

business in this district, and all events giving rise to Plaintiff’s claims occurred within this

district.

                                            PARTIES

        4.     Plaintiff BOLA DELANO (hereafter “Plaintiff” or “DELANO”), at all times

relevant to this Complaint, is a resident of the Village of Orland Park, Cook County, State of

Illinois. Her place of employment as Village Manager was the Village of University Park,

Village Hall, 698 Burnham Drive, located in both Will and Cook Counties, Illinois.

        5.     Plaintiff has a Bachelor of Arts degree in Urban Planning Studies from the

University of Westminster in London, UK and has completed post graduate work in Project and

Policy Management, also from the University of Westminster in London, UK. Plaintiff began

her employment as the Village Manager of the Village of University Park on May 18, 2015 and

was purportedly terminated from said position on February 2, 2016.



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        6.     Prior to being Village Manager of University Park, Plaintiff was the Deputy

Director for Planning and Programming for the Illinois Department of Transportation from 2011-

2015.

        7.     Immediately prior to working for the Illinois Department of Transportation,

Plaintiff was the Deputy Executive Director for the Chicago Metropolitan Agency for Planning.

        8.     Immediately prior to working for the Chicago Metropolitan Agency for Planning,

Plaintiff was a Senior Account Manager for the Illinois Department of Commerce and Economic

Opportunity.

        9.     Immediately prior to working for the Illinois Department of Commerce and

Economic Opportunity, Plaintiff was the Director of Economic Development for the Chicago

Southland Chamber of Commerce

        10.    Prior to joining the Chicago Southland Chamber of Commerce, Plaintiff held

positions of increasing responsibility with the Village of Ford Heights in Village Administration

and Planning and with the Hertfordshire County Council as the Director of Regeneration in the

United Kingdom.

        11.    Plaintiff has over 21 years of experience in urban planning and economic

development at the local, county and state levels.

        12.    Defendant VILLAGE OF UNIVERSITY PARK, ILLINOIS (hereafter the

“VILLAGE”) is a home rule unit of Illinois and an Illinois municipal corporation.

        13.    Defendants Larry B. Brown, Joseph E. Roudez III, Oscar Brown, Jr., Keith J.

Griffin and Milton C. Payton (hereinafter “TRUSTEES”) are all present trustees of the

VILLAGE and were trustees at all times relevant to this Complaint and are sued in their official

and individual capacities.



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                           FACTS COMMON TO ALL CLAIMS

       14.     At all times material to this complaint, Plaintiff was employed by the Defendant

VILLAGE as its Village Manager for 8 months and fifteen days under her written employment

agreement.

       15.     Plaintiff performed all of the duties of her position and met the Mayor’s

legitimate expectations as Village Manager for the VILLAGE.

       16.     On or about June 12, 2015, Plaintiff entered into a written employment contract to

be Village Manager of University Park. (A copy of this agreement is attached as Exhibit A to

this Complaint and made a part hereof.) The term of this agreement was four (4) years at the

salary of $107,000.00 per year. Pursuant to the written employment contract, Plaintiff could be

terminated because of her conviction of a felony, a Class A or B misdemeanor, a crime of moral

turpitude, or for cause. Pursuant to the written employment contract, cause is defined as failure

to comply with any of the terms of the written employment agreement, the Illinois Compiled

Statutes or Village Code relating to the duties of Village Manager, violation of the Code of

Ethics of the International City Management Association, failure to carry out reasonable

directives of the Board as articulated by the Mayor, insubordination to the Mayor, official

misconduct, gross unethical behavior, and inappropriate verbal abuse of any Village employee.

       17.     On June 9, 2015, the VILLAGE passed Village Ordinance No. 02015-23, which

authorized the execution of an employment agreement for the position of Village Manager

between the VILLAGE and Plaintiff. (A copy of the Ordinance is attached as Exhibit B to this

Complaint and made a part hereof.)

       18.     Plaintiff has never been convicted of any offenses which could result in

termination.



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         19.    Plaintiff received a letter on February 12, 2016 from the VILLAGE attorneys

indicating that her employment was terminated effective February 2, 1016. The termination

letter provides no details for the reason for Plaintiff’s termination. (A copy of the termination

letter is attached as Exhibit C to this Complaint and made a part hereof.)

         20.    No other reason has ever been given for the termination of Plaintiff’s contract of

employment.

         21.    At all times relevant to Plaintiff’s Complaint, Mayor Vivian Covington has been

the duly elected Mayor of the Village of University Park, recently defeating Defendant Joseph E.

Roudez III, who lost the mayoral election in 2015. Plaintiff supported Mayor Covington during

her re-election campaign where she defeated her political opponent Defendant Joseph E. Roudez

III.

         22.    At all times relevant to Plaintiff’s Complaint, Mayor Vivian Covington was of the

belief that Plaintiff properly carried out her duties as Village Manager consistent with the terms

and provisions of the employment agreement between the VILLAGE and Plaintiff.

         23.    To date, the Plaintiff has yet to receive any unpaid balance of earned salary,

vacation, personal days and benefits due her on the effective date of her termination, as

authorized by the employee manual for the VILLAGE.

                                          COUNT I
       (42 U.S.C. Section 1983 Claim for Deprivation of First Amendment Rights and for
                Wrongful Termination of Employment against the TRUSTEES)

         24.    Plaintiff reincorporates paragraphs 1-23 as if set out in this Count I in full.

         25.    Trustees Larry Brown, Roudez III, Oscar Brown Jr., Griffin and Payton

(TRUSTEES) are political opponents of Mayor Vivian Covington and individually and jointly

caused the wrongful termination of Plaintiff’s employment based upon a retaliation for Plaintiff’s

exercise of free speech, association and political participation and support of Mayor Vivian
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Covington in her mayoral campaign against Roudez III, thereby violating Plaintiff’s rights under

the First Amendment to the U.S. Constitution.

       26.      The TRUSTEES as final policymakers for the VILLAGE, as they carry the

majority vote on the Village of University Park, Village Board, were the moving force behind

the deprivation of Plaintiff’s constitutional rights and resulting injuries. The actions of the

TRUSTEES in depriving Plaintiff of her First Amendment rights and retaliating against her for

the exercise thereof were the direct and proximate cause of her loss of employment and injuries

to the Plaintiff which are set forth herein.

       27.      The TRUSTEES’ actual intent to retaliate against Plaintiff caused her to lose past

and future income, suffer emotional distress, depression, loss of prestige, humiliation and other

consequential damages.

       28.      At all relevant times, the TRUSTEES acted intentionally, willfully, wantonly and

maliciously and in reckless disregard of Plaintiff’s constitutional and statutory rights.

       29.      An award of punitive damages against the TRUSTEES would be just to deter

these Defendants from inflicting future abridgements of constitutional rights.

       WHEREFORE, Plaintiff prays for judgment against the TRUSTEES for substantial

compensatory damages and for future lost income, and because the TRUSTEES acted

maliciously, willfully, wantonly and with reckless disregard for Plaintiff’s constitutional rights,

for substantial punitive damages, plus the costs of this action, attorneys’ fees, and such other

relief as the Honorable Court may deem equitable and just.




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                                         COUNT II
                        (Breach of Contract – Against the TRUSTEES)

       30.     Plaintiff reincorporates paragraphs 1-23 as if set out in this Count II in full.

       31.     Plaintiff’s employment agreement specifies on page 5 of the agreement the

specific reasons that can trigger termination (See page 5 of Exhibit A to this Complaint).

       32.     The Plaintiff engaged in no conduct whatsoever that warranted her termination.

       33.     The Plaintiff was never the subject of any form of progressive discipline by

Mayor of the Village of University Park.

       34.     The Plaintiff never failed to carry out reasonable directives of the Board as

articulated by the Mayor.

       35.     The Plaintiff was never insubordinate to the Mayor.

       36.     The Plaintiff has no criminal convictions that would have warranted her

termination of employment.

       37.     The TRUSTEES intentionally, willfully and wantonly breached the employment

agreement between the VILLAGE and Plaintiff by politically retaliating against the Plaintiff,

terminating the Plaintiff’s employment contract for pre-textual, unlawful reasons, despite the

Mayor telling the TRUSTEES not to terminate the Plaintiff and despite the Mayor abstaining

from all termination proceedings which occurred in the Village of University Park relative to the

Plaintiff. (See the affidavit of Mayor Vivian Covington attached to this Complaint as Exhibit D

and made a part hereof).

       WHEREFORE, Plaintiff prays for judgment against the TRUSTEES for substantial

compensatory damages, payment of the balance due and owing under the Plaintiff’s employment

agreement for the full period of Plaintiff’s employment agreement and for future lost income,

and because the TRUSTEES acted maliciously, willfully, wantonly and with reckless disregard

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for Plaintiff’s constitutional rights, for substantial punitive damages, plus the costs of this action,

attorneys’ fees, and such other relief as the Honorable Court may deem equitable and just.

                                         COUNT III
      (Violation of the Illinois Wage Payment and Collection Act – directed against the
                                VILLAGE and the TRUSTEES)

       38.      Plaintiff reincorporates paragraphs 1-23 as if set out in this Count III in full.

       39.      Plaintiff maintains Count III pursuant to § 820 ILCS 115/11(c) and this Court’s

supplemental jurisdiction under 28 U.S.C. §1367 (a) to hear and adjudicate violations of this Act.

       40.      Upon termination, Plaintiff’s employment agreement provides for payment of the

unpaid balance of earned salary, vacation and personal days and benefits due her on the effective

date of her termination as authorized by the employee manual.

       41.      Plaintiff has not received the payments referenced in paragraph 40.

       42.      Plaintiff has a made a demand for said payments, but the Defendants have refused

to make said payments.

       WHEREFORE, in light of the foregoing, Plaintiff respectfully requests that this Court

grant judgment on her behalf and award her unpaid wages, plus penalties, interest, costs and

attorneys' fees pursuant to statute and for any other relief this Court deems necessary and

appropriate.

                                               COUNT IV
             (Illinois State Law Claim of Indemnification Pursuant to 745 ILCS 10/9-102 –
                          Directed Against the Village of University Park)

       43. Plaintiff reincorporates paragraphs 1-23 as if set out in this Count IV in full.

       44. Defendant Village of University Park, Illinois, is the indemnifying entity for the

actions of the Defendant TRUSTEES, described above, who took these actions while acting in

their official capacity and in the course and scope of their employment with the Village of

University Park, Illinois.
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       WHEREFORE, should the TRUSTEES be found liable on any of the claims set forth

above, the Plaintiff demands that Defendant, Village of University Park be found liable for any

judgment (other than punitive damages) she obtains thereon, pursuant to 745 ILCS 10/9-102.

                                          JURY DEMAND

       Plaintiff, Bola Delano, hereby demands a trial by jury pursuant to Federal Rule of Civil

Procedure 38(b) on all triable issues.

                                                   Respectfully submitted,


                                                   By:     /s/Paul O. Otubusin
                                                         One of Plaintiff’s Attorneys


Date: March 30, 2016                               Paul O. Otubusin, Esq.
                                                   ARDC No: 6205261
                                                   OTUBUSIN & ASSOCIATES, P.C.
                                                   77 West Washington Street
                                                   Suite 1204
                                                   Chicago, Illinois 60602
                                                   E-mail: drotubusin@otubusinlaw.com
                                                   (312) 251-1480
                                                   (312) 251-1481 (Fax)




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